        Case 2:24-cv-01690-CSK Document 4 Filed 06/21/24 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    MICHAEL D. CAREY,                                   No. 2:24-cv-1690 CSK P
12                        Plaintiff,
13            v.                                          ORDER
14    D. KEETON, et al.,
15                        Defendants.
16

17           Plaintiff, a county jail inmate proceeding pro se, filed a civil rights action pursuant to

18   42 U.S.C. § 1983 together with a request for leave to proceed in forma pauperis pursuant to

19   28 U.S.C. § 1915. However, the certificate portion of the request which must be completed by

20   plaintiff’s institution of incarceration has not been filled out. Also, plaintiff has not filed a

21   certified copy of the inmate trust account statement for the six month period immediately

22   preceding the filing of the complaint. See 28 U.S.C. § 1915(a)(2). Plaintiff is provided the

23   opportunity to submit a completed in forma pauperis application and a certified copy in support of

24   the application.

25           In accordance with the above, IT IS HEREBY ORDERED that:

26           1. Plaintiff shall submit, within thirty days from the date of this order, a completed

27   affidavit in support of the request to proceed in forma pauperis on the form provided by the Clerk

28   of Court, and a certified copy of the inmate trust account statement for the six-month period
                                                          1
         Case 2:24-cv-01690-CSK Document 4 Filed 06/21/24 Page 2 of 2


 1   immediately preceding the filing of the complaint;

 2            2. The Clerk of the Court is directed to send plaintiff a new Application to Proceed In

 3   Forma Pauperis By a Prisoner; and

 4            3. Plaintiff’s failure to comply with this order will result in a recommendation that this

 5   action be dismissed without prejudice.

 6

 7   Dated: June 20, 2024

 8

 9

10

11   /1/care1690.3c+new

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         2
